Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 1 of 8 PageID #: 3088
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 2 of 8 PageID #: 3089
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 3 of 8 PageID #: 3090
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 4 of 8 PageID #: 3091
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 5 of 8 PageID #: 3092
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 6 of 8 PageID #: 3093
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 7 of 8 PageID #: 3094
Case 1:03-cr-00304-CBA   Document 747   Filed 12/22/05   Page 8 of 8 PageID #: 3095
